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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                    )
In re:                              )                              Chapter 11
                                    )
MABVAX THERAPEUTICS HOLDINGS, INC., )                              Case No. 19-10603 (JTD)
et al.,1                            )
                                    )
                   Debtors.         )                              Jointly Administered
                                    )
                                    )                              D.I. 341


                                                    ORDER

          Upon consideration of the Fourth Motion of the Debtors for Entry of an Order, Pursuant

to Bankruptcy Rules 9006 and 9027, Extending the Period Within Which the Debtors May

Remove Actions Pursuant to 28 U.S.C. § 1452 (the “Motion”);2 the Court having considered the

Motion, and the matters reflected heretofore in these chapter 11 cases; the Court having found

that (i) the Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; (ii)

venue is proper in this District pursuant to 28 U.S.C. § 1409; (iii) this is a core proceeding

pursuant to 28 U.S.C. § 157(b); and (iv) notice of the Motion was sufficient under the

circumstances; after due deliberation, the Court having determined that the legal and factual

bases set forth in the Motion establish that the relief sought in the Motion is in the best interests

of the Debtors, their estates, and their creditors; and that good and sufficient cause exists for such

relief.

          IT IS HEREBY ORDERED THAT;

          1.     The Motion is GRANTED as set forth herein;



1
        The last four digits of the taxpayer identification numbers of the Debtors follow in parentheses: (i) MabVax
Therapeutics Holdings, Inc. (7903) and (ii) MabVax Therapeutics, Inc. (1765). The Debtors’ mailing address is
11535 Sorrento Valley Road, Suite 400, San Diego, CA 92121.
2
        Unless defined herein, capitalized terms shall have the meanings ascribed to them in the Motion.


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         2.      The time period for the Debtors to remove actions pursuant Bankruptcy Rule

9027 is hereby extended to and including October 13, 2020;

         3.      This Order shall be without prejudice to the rights of the Debtors and their estates

to seek further extensions of the Removal Deadline;

         4.      This Court shall retain jurisdiction with respect to all matters arising from or

related to the implementation of this Order.




                                                           JOHN T. DORSEY
          Dated: June 24th, 2020                           UNITED STATES BANKRUPTCY JUDGE
          Wilmington, Delaware
{00028458. }                                      2
